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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY



   SANDOZ INC. and RAREGEN, LLC           Case No. 19-cv-10170-BRM-LHG

              Plaintiffs,                 MEMORANDUM IN SUPPORT OF
                                          PLAINTIFFS’ MOTION FOR A
        v.                                PRELIMINARY INJUNCTION

   UNITED THERAPEUTICS CORP. and          Oral Argument Requested
   SMITHS MEDICAL ASD, INC.
                                          CONTAINS INFORMATION
              Defendants.                 DESIGNATED AS “HIGHLY
                                          CONFIDENTIAL” PURSUANT TO
                                          STIPULATED CONFIDENTIALITY
                                          ORDER

                                          Document electronically filed
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                           PRELIMINARY STATEMENT
        The relevant facts are undisputed.



                                                                  designed to impede

  competition between Plaintiffs’ generic treprostinil and the brand-name alternative,

  Remodulin, which is sold by Defendant United Therapeutics Corporation (“UTC”).

  Defendants’ anticompetitive scheme was reduced to a series of written agreements,

  successfully blocked Plaintiffs’ cheaper generic drug from being accessed by

  patients, and artificially inflated the cost of patient care. Defendants’ actions have

  therefore harmed competition, the public, and Plaintiffs.

        Doctors prescribe subcutaneous and intravenous injections of treprostinil to

  treat severe cases of pulmonary arterial hypertension (“PAH”). Most patients in the

  United States who receive treprostinil injections have them administered

  subcutaneously, and the CADD-MS 3 pump is the only pump available in the United

  States to administer those treatments. The pump infuses small doses of treprostinil

  under a patient’s skin from a disposable syringe, which is called a cartridge.

  Defendant Smiths Medical ASD, Inc. (“Smiths”) manufactures the cartridges, and

  CADD-MS 3 pumps are useless without them. UTC and Smiths conspired to ensure

  that only patients using Remodulin could access cartridges, making it impossible for

  patients to receive subcutaneous treatments with Plaintiffs’ generic treprostinil



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  injection.

        On the eve of generic entry, UTC asked Smiths to




                                                         With patient care hanging in

  the balance, the pharmacies had no choice but to give in.



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           As a result of Defendants’ efforts, in early 2019, Plaintiffs started hearing

  from the pharmacies—for the first time—that cartridges were suddenly unavailable,

  even though cartridges previously had been available without restriction for many

  years.




  Without access to cartridges, Plaintiffs’ generic drug is not an option for patients

  who have been prescribed subcutaneous injections.

           The agreements between UTC, Smiths, and the specialty pharmacies (the

  “Restraints”) are anticompetitive and have insulated Remodulin from meaningful

  competition. The price of Plaintiffs’ generic drug is       % less than the price of

  Remodulin. That means the Restraints artificially inflate the cost of subcutaneous

  treatments by forcing all subcutaneous patients to use UTC’s higher-cost drug.

           To stop Defendants’ illegal scheme and immediately open up the benefits of

  competition between Remodulin and Plaintiffs’ generic alternative, Plaintiffs

  respectfully ask the Court to preliminarily enjoin Defendants from enforcing the

  Restraints. Even with only targeted, expedited discovery, the record confirms that



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  all elements of the preliminary injunction inquiry weigh in favor of Plaintiffs’

  requested relief.

                             STATEMENT OF FACTS1

  I.    Patients Need Cartridges to Receive Subcutaneous PAH Treatments

        A.      Injected Treprostinil Is the Only Subcutaneous PAH Treatment
        PAH is a chronic disorder that causes high blood pressure in the arteries

  leading to the lungs. Roberts Decl. ¶¶ 14-18. It has no cure. Watson 64:6-13.2

        Remodulin is manufactured by UTC, and it is prescribed to treat patients with

  severe PAH symptoms. Benkowitz 44:3-19; Roberts Decl. ¶¶ 18, 27. Remodulin

  can be administered through subcutaneous infusions under the patient’s skin or

  intravenously. Watson 59:10-15; Roberts Decl. ¶ 27. Subcutaneous infusions are

  the preferred mode of administration. Roberts Decl. ¶ 28; Waxman 139:19-140:2,

  142:5-9. Intravenous injections are more invasive than subcutaneous infusions and

  carry a higher risk of infection. Roberts Decl. ¶¶ 28, 39; Waxman 161:4-11; Watson

  60:4-61:21.

        Remodulin was first sold in the United States in 2002. Ex. 1000 at 3. Until

  March 25, 2019, there was no generic alternative. deGoa Aff. ¶¶ 2, 32. Remodulin


  1
    Plaintiffs will submit to the Court a USB drive that contains an electronic version
  of this brief with hyperlinks to the underlying evidence.
  2
    Plaintiffs’ deposition designations are attached to the Declaration of Ethan Glass
  (“Glass Decl.”), in the form of annotated deposition excerpts. Pages without
  designated testimony have been omitted. For the convenience of the Court, Plaintiffs
  also created a brief summary of each witness’s background. Glass Decl., Ex. A.


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  and Plaintiffs’ generic treprostinil are therapeutically equivalent. Spina Decl. ¶ 6.

  They are the only PAH treatments that can be administered subcutaneously. Watson

  18:24-25, 63:10-13, 65:23-66:2; Roberts Decl. ¶ 37.

        There are only two pharmacies in the United States that dispense treprostinil

  injections: Accredo Health Group, Inc. (“Accredo”) and CVS Specialty Pharmacy

  (“CVS”). Watson 45:16-46:10; deGoa Aff. ¶ 6. Accredo and CVS also provide

  pumps, cartridges, and other supplies to PAH patients, and train patients to

  administer their treatments. deGoa Aff. ¶¶ 6-7. Accredo services approximately

  80% of the patient population on injected treprostinil in the United States. Id. ¶ 7.

        B.     The CADD-MS 3 Is the Only Pump Used in the United States to
               Administer Subcutaneous Treprostinil Infusions
        Smiths’ CADD-MS 3 pump is the only pump available in the United States to

  administer subcutaneous infusions of treprostinil. UTC 30(b)(6) (Gray) 184:4-

  185:4; Walker 89:17-90:5, 138:4-18, 211:3-212:2.

              UTC 30(b)(6) (Gray) 11:24-13:8; Walker 55:10-15, 89:17-25; Watson

  159:19-160:4. Accredo and CVS own CADD-MS 3 pumps and rent them to

  patients. Ex. 1002; Watson 202:15-203:3.

                                Ex. 1003; Walker 21:4-9; Quinn 55:7-16.

                                                                         . Ex. 1004 at

  076; Quinn 55:7-56:2.

        CADD-MS 3 pumps deliver infusions of treprostinil under a patient’s skin


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  from a disposable syringe, which is called a cartridge. Quinn 56:3-57:5, 57:17-20.

  When a new cartridge is needed, a patient removes the used cartridge from their

  pump, disposes the used cartridge, fills a replacement cartridge with treprostinil, and

  places it in their pump. Ex. 1005 at 436, 450-53. Without cartridges, the pumps are

  useless. Gencheff 17:3-18; Rhodes 91:19-24; Quinn 56:3-24. Prior to 2019,




                                      Donovan 48:20-49:18, 129:11-24.

        C.     Plaintiffs Sell the First Generic Version of Remodulin
        Sandoz filed the first ANDA for generic Remodulin in 2011. Spina Decl. ¶ 5.

  UTC sued Sandoz for patent infringement, and the parties settled in September 2015.

  Id.




                                                                   The FDA approved

  Sandoz’ ANDA in November 2017. Spina Decl. ¶ 6. Sandoz is entitled to a six-

  month exclusivity period following its first sale, and it will be the only generic

  version of Remodulin on the market during that time. Id. ¶ 7.

        Sandoz partnered with RareGen in August 2018 to commercialize its generic



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  treprostinil injection. Sandoz is responsible for ensuring there is sufficient supply

  of generic treprostinil. Id. ¶ 8. RareGen is responsible for commercializing generic

  treprostinil, including detailing and promoting its appropriate use. deGoa Aff. ¶ 3.

  RareGen made an upfront investment of $       million in the partnership, Ex. AA at

  451, and it has already spent        of dollars commercializing the product, deGoa

  Aff. ¶ 4. RareGen earns a greater percentage of net profits from generic treprostinil

  sales than Sandoz. Ex. AA at 451-52.

  II.   There Were No Restrictions on Cartridge Use Before 2019



          Ex. 154; Watson 165:23-166:2.



                             Walker 54:14-19.

                                                               Watson 158:25-160:4;

  UTC 30(b)(6) (Gray) 11:24-13:8.




                 Ex. 67; Watson 175:21-176:4.



                                                                 Ex. 67 at 003.




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                      Id. at 002.



                                                 Id. at 003 (¶ 6).

                                                                           Id.



                                                             Watson 200:25-201:8;

  Walker 17:22-18:9, 22:15-21, 29:20-30:7; Rhodes 115:15-116:9.



             Ex. 205; Walker 143:14-145:14.

                                                                                 Ex.

  206 at 954; Ex. 207; Walker 163:20-25.




                                                           Ex. 210 at 954; Ex. 463;

  Walker 181:21-182:13; Donovan 112:4-22, 113:23-114:17.

                                                                      Ex. 202.

                                                                     Ex. 55 at 905,

  919-21; Rhodes 116:18-117:1.

                                       Rhodes 122:23-124:23.



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                    Walker 70:10-72:21.



  Ex. 90 at 416; Ex. 466 at 642-43; Ex. 467 at 813-14; Ex. 468; Ex. 469; Ex. 470.




                                             . Ex. 722; Ex. 724.

  III.   UTC and Smiths Conspired to Suppress Generic Competition in 2019

         A.


         By the fall of 2018, Plaintiffs were negotiating agreements with Accredo and

  CVS under which the pharmacies would dispense generic treprostinil and provide

  related support services to patients. deGoa Aff. ¶ 8. Accredo assured Plaintiffs that

  it owned enough older, unencumbered pumps to serve generic treprostinil patients.

  Id. ¶ 11; Ex. 357; Ex. DD. During that same time period, RareGen was preparing

  marketing materials and its sales team was already meeting with clinicians to explain

  the benefits of generic treprostinil. deGoa Aff. ¶ 8.




                                                                               Ex. 705


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  at #74; see also id. at #1, #15; Benkowitz 149:24-150:19.



                          Benkowitz 149:8-14.

                                                Ex. 61.




  Ex. 91.




                                                          Ex. 87 at 152.




                                                                       Rhodes said:



                                                                                Ex.

  459 at 966.



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                                                          Ex. 705 at #76.

        B.    In December 2018,


        On December 17, 2018, Rhodes asked Gencheff to

                                                                        Ex. 89 at 381.



                   Id. at 379-80; Rhodes 137:21-138:7. Gencheff replied that



                         Ex. 89 at 378-79; see also Ex. 59 at 364.

                                  Ex. 90 at 416,                         145:21-146:1.



                                                   Ex. 90 at 416; Ex. 92 at 124.



                 Donovan 46:19-47:10, 82:18-83:2, 218:8-219:5, 220:22-221:17;

  Gencheff 290:6-20; Benkowitz 172:7-173:8; Ex. 1007




                                  Donovan 179:16-24.

                                               Ex. 90 at 416.



                                                         Ex. 89 at 378; Ex. 93 at 130;


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  Ex. 95 at 259; Gencheff 244:25-245:4, 246:24-248:10, 259:1-15, 263:6-264:10.

                                                                                  ,

  Ex. 475,        Ex. 488, and, for the first time,           , Ex. 477




                              ; Donovan 208:12-24.

                                                                Ex. 96 at 385

                                   ); Ex. 98 at 766

                                                  ; Ex. 483




                                   Ex. 98 at 766; deGoa Aff. ¶ 14; Ex. GG; Donovan

  247:4-8, 247:19-248:25, 250:6-23, 251:20-252:17, 270:5-18, 271:8-272:16, 272:25-

  274:7.                                   Ex. 98 at 765

                              ; deGoa Aff. ¶ 14; Ex. II; Donovan 246:9-17, 247:4-8,

  251:2-7, 252:11-17.

                               Ex. 472 at 264; Donovan 146:20-147:11.

           C.   With Patient Health at Risk,




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                             . Ex. 478




                        ; Ex. 489 at 769 (same); Donovan 211:7-19, 213:7-15, 302:18-

  303:4.

                       Ex. 71; Ex. 72. The notice,

                 , stated:




  See, e.g., Ex. 71 at 759.

                 Donovan 260:16-261:18; Walker 79:13-21.



                                   Ex. 485 at 194




                                                             3
                                                                 Ex. 490 at 235.




  3

                                         Ex. 455 at 464; Donovan 31:23-32:10.


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                                     Ex. 705 at #53

                                          ; Ex. 93 at 132.

                                  Ex. 151 at 215



                     ); Ex. 458

                            ; Donovan 93:8-94:22.

                                                               Ex. 151 at 216

                                                                          ), at 215

                                           . Michael Benkowitz, UTC’s President,



                                                      Benkowitz 167:24-169:25; cf.

  Gencheff 305:2-9

        As the launch of generic treprostinil grew closer, UTC became




                                                                     Ex. 61 at 677.




               Id.; Benkowitz 188:7-13.



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                                                Ex. 61 at 677. That was true.



                 Ex 100 at 670.



                                                See, e.g., Ex. 1009 at 898



                                                 ; Ex. 1010

                               . That reckless conduct placed patient safety at risk:

        • On March 1, CVS wrote to Smiths that
                                                               Ex. 152.

        • On March 6, CVS wrote to Smiths that




                               Ex. 456 at 589.

        • On March 12, Accredo wrote to Smiths that its
                                                                                Ex. 479
             at 563; see also Ex. 708 at 528.

  And with patient health on the line, these tactics wore down Accredo and CVS.

                                                                                Ex. 65

  (Accredo); Ex. 84 (CVS). But Smiths never

                                           . Gencheff 42:14-43:13, 46:2-48:16.

        D.                    , Restrictions on Cartridge Use Went Into Effect




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            Ex. 56.

                                                  Id. ¶ 1.a.6; Rhodes 109:19-110:18.



                 . Gencheff 25:10-16, 26:5-8.

                                                                             Ex. 725;

  Ex. 723.



                                . UTC 30(b)(6) (Gray) 179:15-20, 182:8-24.

  IV.




                                         Supra at 9-12.

                                                                     See, e.g., Ex. 84

  at 873

        ; Donovan 109:6-25, 113:23-114:17, 227:5-19, 253:24-254:8.




  Ex. 475 at 251 (emphasis added).


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                              See Ex. 99 at 133




  Donovan 223:22-224:10; id. at 109:6-109:17, 196:14-197:8, 203:6-204:10; Ex. 480.

  V.    The Restraints Artificially Inflate the Price of Injected Treprostinil
        Sandoz and RareGen launched generic treprostinil sales on March 25, 2019.

  deGoa Aff. ¶ 32. Plaintiffs sell generic treprostinil at a price that is about   less

  than the price of Remodulin. Rao Report ¶ 79.




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        As a result of the Restraints, generic treprostinil is only available to patients

  receiving intravenous treatments. deGoa Aff. ¶ 32. The fact that generic treprostinil

  is available to patients for intravenous administration, but not subcutaneous, has

  resulted in a price differential for treprostinil sold for these two different

  administration methods. Rao Report ¶ 82. Following generic entry, in the second

  quarter of 2019, the weighted average price of treprostinil used for subcutaneous

  treatments was $        per mg—approximately           % higher than the price for

  treprostinil used for intravenous treatments. Id. The projected annual cost savings

  of having a generic subcutaneous treprostinil available for patients will be millions

  of dollars per year. Id. ¶ 102, Tab 14.

        As of August 31, 2019, fewer than              patients are receiving generic

  treprostinil treatments (all of whom are administering the drug intravenously).

  deGoa Aff. ¶ 33. In contrast, in December 2018, there were          patients receiving

  Remodulin through intravenous treatments, Ex. 1011 (showing          patients serviced

  by Accredo); Ex. 1012 (showing        patients serviced by CVS), and          patients

  receiving subcutaneous Remodulin treatments, Rao Report at Tab 14.

        More patients would receive generic treprostinil if the Restraints did not exist.

  deGoa Aff. ¶¶ 34-36. It is common for payors to adopt policies requiring a pharmacy

  to dispense a generic unless the prescriber indicates the brand drug should be

  “dispensed as written.” Id. ¶ 35. Payors have told Plaintiffs they cannot implement



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  a generic-first policy for only intravenous treatments, so they are waiting until

  generic treprostinil is available for both subcutaneous and intravenous treatments.

  Id. Thus, the Restraints are impeding generic treprostinil sales for both subcutaneous

  and intravenous patients and artificially inflating the cost of care.

                                      ARGUMENT
        “Four factors are considered in determining whether to grant a preliminary

  injunction: (1) whether the movant has a reasonable probability of success on the

  merits; (2) whether the movant will be irreparably harmed by denying the injunction;

  (3) whether there will be greater harm to the nonmoving party if the injunction is

  granted; and (4) whether granting the injunction is in the public interest.” Highmark,

  Inc. v. UPMC Health Plan, 276 F.3d 160, 170-71 (3d Cir. 2001). Here, all four

  factors weigh heavily in favor of a preliminary injunction.

  I.    Plaintiffs Are Likely to Succeed on the Merits
        Plaintiffs seek a preliminary injunction based on only their Sherman Act

  claims. See 15 U.S.C. §§ 1-2. Although those claims are evaluated under the “rule

  of reason,” Eisai, Inc. v. Sanofi Aventis U.S., LLC, 821 F.3d 394, 403 (3d Cir. 2016);

  ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 281 (3d Cir. 2012), the evidence of

  anticompetitive effects here is so strong that the Court need not look past how the

  agreements impede competition with Remodulin, Cal. Dental Ass’n v. F.T.C., 526

  U.S. 756, 770 (1999) (“Quick-look” analysis, an abbreviated inquiry, “carries the




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  day when the great likelihood of anticompetitive effects can easily be ascertained”).

        Nevertheless, even if the Court conducts a full-blown rule of reason analysis,

  the record confirms Defendants’ “restrictive practice should be prohibited as

  imposing an unreasonable restraint on competition.” United States v. Brown Univ.,

  5 F.3d 658, 668 (3d Cir. 1993) (citation omitted). The record shows both (1) direct

  proof of actual anticompetitive effects, which include higher prices, reduced output,

  or decreased quality, and (2) indirect proof of “market power,” which is “the ability

  to raise prices above those that would prevail in a competitive market.” Id. Based

  on that showing, the burden shifts to the Defendants “to show that the challenged

  conduct promotes a sufficiently pro-competitive objective.” Id. at 669. Defendants

  cannot meet that burden; there are no pro-competitive justifications for the Restraints

  and there are less restrictive alternatives that would not impact competition.

        A.     The Restraints Have Harmed Competition
               1.     Direct Evidence Shows the Restraints Cause Higher Prices
        “Actual anticompetitive effects can be shown through reduced output,

  increased prices . . . and loss of consumer choice.” Deborah Heart & Lung Ctr. v.

  Penn Presbyterian Med. Ctr., 2011 WL 6935276, at *7 (D.N.J. Dec. 30, 2011).

  There is ample evidence the Restraints increase prices and reduce consumer choice.

        The price for intravenous treprostinil treatments declined quickly and

  substantially following generic entry.     Patients who are receiving intravenous




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  treatments do not need cartridges, which means they can be dispensed either

  Remodulin or generic treprostinil. Specialty pharmacies pay           less for generic

  treprostinil than they do for Remodulin, Rao Report ¶ 79, which is why the average

  price per milligram of intravenously injected treprostinil declined by          in the

  quarter following generic entry, id. ¶ 82 & Tab 9.

                               it has driven down the cost to treat intravenous patients.

        The same thing cannot be said for the costs associated with treating patients

  receiving subcutaneous infusions. As a result of the Restraints, patients who have

  been prescribed subcutaneously-infused treprostinil have only one option:

  Remodulin.




        In the absence of the Restraints, the price for subcutaneously-administered

  treprostinil should have fallen to the same level as the price for intravenous

  treatments. As Plaintiffs’ economic expert, Dr. Mohan Rao, will testify, the price

  differential between the two methods of administration is direct economic evidence

  that the Restraints have significant anticompetitive effects. Rao Report ¶¶ 78-91.

               2.    Indirect Evidence Shows the Restraints Substantially
                     Foreclose Competition
        “[P]roof of the defendant’s market power” can also “act[] as a proxy for


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  anticompetitive effect.” Deborah Heart & Lung Ctr., 2011 WL 6935276, at *7.

  “One indirectly proves market power by (1) defining the relevant market, (2)

  establishing that the defendant has a large share of that market, and (3) showing that

  there are barriers to entry which protect the defendant’s large market share.” Graco

  Inc. v. PMC Glob., Inc., 2012 WL 762448, at *8 (D.N.J. Mar. 6, 2012). And the

  plaintiff must also show that the challenged conduct has anticompetitive effects. See

  LePage’s Inc. v. 3M, 324 F.3d 141, 158-62 (3d Cir. 2003).

        As explained below, Plaintiffs can prove (1) UTC is a monopolist; (2) its

  market position is protected by high barriers to entry; (3) with assistance from

  Smiths, UTC implemented exclusive-dealing contracts; (4) those contracts

  substantially foreclosed competition; and (5) as a result, prices have been artificially

  inflated. That is more than enough to show Plaintiffs “can win on the merits.” See

  Reilly v. City of Harrisburg, 858 F.3d 173, 179 (3d Cir. 2017).

                      a.     Subcutaneously Injected Treprostinil and Injected
                             Prostacyclins Are Relevant Product Markets
        “[W]here a plaintiff demonstrates direct evidence of actual anticompetitive

  effects, the plaintiff’s burden is diminished and it must only demonstrate the rough

  contours of a relevant market.” Deborah Heart & Lung Ctr., 2011 WL 6935276, at

  *7. Plaintiffs have proof of direct anticompetitive effects, supra at 20-21, and can

  easily identify the “rough contours” of the markets affected by Defendants’ conduct.

        “[A] market’s outer boundaries are determined by the reasonable


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  interchangeability of use between a product and its substitute, or by their cross-

  elasticity of demand.” Broadcom Corp. v. Qualcomm Inc., 501 F.3d 297, 307 (3d

  Cir. 2007). “When assessing reasonable interchangeability, factors to be considered

  include price, use, and qualities. Reasonable interchangeability is also indicated by

  cross-elasticity of demand between the product itself and substitutes for it.” Queen

  City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430, 437 (3d Cir. 1997). “Whether

  products are interchangeable is analyzed from the customers’ perspective.” Graco,

  2012 WL 762448, at *8.

        The United States Is a Relevant Geographic Market.              “The relevant

  geographic market is the area in which a potential buyer may rationally look for the

  goods or services he or she seeks.” Tunis Bros. Co. v. Ford Motor Co., 952 F.2d

  715, 726 (3d Cir. 1991). Patients in the United States can only be dispensed FDA-

  approved drugs, and thus, the relevant geographic market here is the United States.

  See Ethypharm S.A. France v. Abbott Labs., 707 F.3d 223, 236 (3d Cir. 2013).

        Subcutaneously Injected Treprostinil Is a Relevant Product Market. The

  price, use, and characteristics of subcutaneously-administered treprostinil show that

  it is a relevant product market. Injected treprostinil is the only PAH treatment that

  can be administered by subcutaneous infusion (i.e., under the skin). Supra at 4-5.

  And subcutaneous infusions are the preferred method of administering injected

  treprostinil because subcutaneous treatments (1) carry a lower risk of infection than



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  intravenous treatments; and (2) allow for increased patient mobility and quality of

  life. Roberts Decl. ¶ 28. Given these unique traits, patients who are prescribed

  subcutaneously-administered treprostinil have no other close alternatives. That is

  why

              See, e.g., Benkowitz 58:8-60:1, 126:6-24; Rao Report ¶ 73.

        Two key pieces of real-world evidence confirm that there are no close

  substitutes for subcutaneously-administered treprostinil.




                                   intravenous treatments were a close substitute for

  subcutaneous patients, that investment would have made no economic sense—UTC

  could have just transitioned subcutaneous patients to intravenous treatment. Second,

  even though generic treprostinil is cheaper than Remodulin and has now been

  available as an intravenous treatment for months, physicians have not transitioned

  subcutaneous patients to intravenous treatments to take advantage of the lower cost

  of care. See Rao Report ¶¶ 82-83. Thus, there is no evidence of cross-elasticity of

  demand between subcutaneously-administered treprostinil and any other product.



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  Cf. Mylan Pharm. Inc. v. Warner Chilcott Pub. Ltd. Co., 838 F.3d 421, 437 (3d Cir.

  2016) (evidence of cross-elasticity, specifically, “that Defendants responded to the

  market’s reaction to their prices with sales promotions in an effort to increase their

  ability to compete with other tetracyclines” and “when Defendants increased the

  price of Doryx, its sales decreased, and the sales of other tetracyclines increased,”

  showed the relevant market was “oral tetracyclines prescribed to treat acne”).4

        For all these reasons, subcutaneously-administered treprostinil is a relevant

  antitrust market. And as discussed below, it also is a submarket within a broader

  market of all injected prostacyclins, including injected treprostinil.       See U.S.

  Horticultural Supply v. Scotts Co., 367 F. App’x 305, 310 (3d Cir. 2010)

  (submarkets may be defined based on, inter alia, “the product’s peculiar

  characteristics and uses, unique production facilities, [and] distinct customers”).

        Injected Prostacyclins Are Also a Relevant Product Market. Even though

  treprostinil is the only PAH treatment that can be administered through subcutaneous

  infusions, there are other PAH treatments that can be injected intravenously, just like

  Remodulin and generic treprostinil.            Those other treatments are generic


  4
     The evidence of cross-elasticity of demand and drug interchangeability in Mylan
  is just one reason that case is distinguishable from this one. 888 F.3d at 435-37. The
  Third Circuit also found Mylan “failed to provide direct evidence of monopoly
  power” because its experts gave no “substantiated quantitative analysis showing that
  Defendants maintained high price-cost margins.” Id. at 434-35. Here, there is direct
  evidence the Restraints allowed UTC to maintain supra-competitive pricing. Rao
  Report ¶ 94.


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  epoprostenol, Flolan, and Veletri. Watson 61:15-63:18; Roberts Decl. ¶ 21.

        These pharmaceuticals, called injected prostacyclins, all have similar use

  cases and characteristics because (1) they all can be administered by intravenous

  injections, Watson 61:15-63:18; Roberts Decl. ¶¶ 21-23; (2) they all address the

  prostacyclin pathway, Roberts Decl. ¶ 21; and (3) they all treat patients with severe

  PAH symptoms, id. ¶¶ 35-36. While there are “pathways” to treat PAH symptoms

  that are not prostacyclins (the nitric oxide pathway and the endothelium pathway),

  Benkowitz 50:11-51:2; see also Roberts Decl. ¶ 21, injected prostacyclins are “the

  only first-choice therapies” considered by physicians for treating patients with

  severe PAH symptoms, Roberts Decl. ¶¶ 35-39. Given these shared characteristics

  and use cases, the market composed of injected treprostinil, generic epoprostenol,

  Flolan, and Veletri, which UTC calls

                 Benkowitz 53:24-54:12, is a relevant antitrust product market.

        Oral and Inhaled PAH Treatments Are Not in the Same Relevant Product

  Market as Remodulin. UTC claims Remodulin competes with all PAH treatments,

  including oral and inhaled therapies. Ex. 57. That is not true. The differences in

  price, use, and characteristics of oral and inhaled PAH treatments, when compared

  to injected treatments, confirm they are not part of the same antitrust markets.

        “As a general matter and accepted consensus clinical practice, oral and inhaled

  therapies are not substituted for injected therapies in patients for whom injected



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  drugs are the best therapeutic choice.” Roberts Decl. ¶ 23; see also Waxman 82:18-

  20, 93:2-94:7, 98:22-99:14, 100:15-103:5, 106:19-107:24, 111:2-19.



          Except for subcutaneously-infused treprostinil, injected treatments require

  surgical insertion of an intravenous catheter in the patient’s chest. Ex. 1000 at 7;

  Watson 60:18-61:1.     Oral and inhaled therapies are used to treat less severe

  symptoms than Remodulin, and they are not recommended for patients with “Class

  IV” symptoms. Roberts Decl. ¶ 38. And there is no evidence of cross-elasticity of

  demand between Remodulin and these treatments, because there is no evidence the

  prices of oral or inhaled products affect the price of Remodulin in any way.

  Benkowitz 79:15-81:5, 91:2-6, 91:20-92:17, 102:7-105:16, 105:25-108:1. Indeed,

  Defendants’ economic expert, Dr. Eric Gaier, conceded that



                                                           Gaier 409:18-410:13.

        “[O]ral and inhaled therapies are generally prescribed to patients with less

  severe symptoms, although those patients may also remain on those therapies to

  complement injected therapies as their symptoms become more severe.” Roberts

  Decl. ¶ 23. Contrary to Defendants’ arguments, “[t]his demonstrates that these

  products are complements, rather than substitutes, so a distinct market exists for

  each.” U.S. Horticultural Supply, 367 F. App’x at 310.



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                                        Thus, patients do not substitute between them,

  and Remodulin and these drugs are not part of the same relevant antitrust market.

                       b.    FDA Regulations Are a Substantial Barrier to Entry
          FDA regulations are a substantial barrier to entering both relevant markets

  here.     See Ethypharm, 707 F.2d at 236 (FDA regulations are a “high

  legal barrier to entry”); Fed. Trade Comm’n v. AbbVie Inc., 329 F. Supp. 3d 98, 135-

  36 (E.D. Pa. 2018). Confirming the significance of this barrier to entry, Plaintiffs’

  generic treprostinil is the first generic version of Remodulin to launch since 2002.

                       c.    UTC Has Market Power
          In a market with high barriers to entry, a share significantly in excess of 55%

  is prima facie evidence of market power. United States v. Dentsply Int’l, Inc., 399

  F.3d 181, 187 (3d Cir. 2005); see also Fineman v. Armstrong World Indus., Inc., 980

  F.2d 171, 202 (3d Cir. 1992).

          UTC possesses market power in both relevant markets because its market

  share is much higher than 55% and it is protected by high barriers to entry. The

  Restraints prohibit patients receiving subcutaneous treatment from accessing

  Plaintiffs’ generic treprostinil, so UTC’s share of the subcutaneously-administered




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                     d.     The Restraints Have Anticompetitive Effects
        “When a monopolist’s actions are designed to prevent one or more new or

  potential competitors from gaining a foothold in the market by exclusionary, i.e.

  predatory, conduct, its success in that goal is not only injurious to the potential

  competitor but also to competition in general.” LePage’s, Inc. v. 3M, 324 F.3d 141,

  159 (3d Cir. 2003). That is what has happened here. The Restraints prevent

  Plaintiffs’ product from reaching subcutaneous patients, and as a result, they cannot

  “pose a real threat to [UTC’s] business.” ZF Meritor, 696 F.3d at 286; see also id.

  at 284 (“[I]f the defendant occupies a dominant position in the market, its exclusive

  dealing arrangements invariably have the power to exclude rivals.”).

        When evaluating anticompetitive effects of exclusive-dealing relationships,

  “courts must look to the monopolist’s conduct taken as a whole rather than

  considering each aspect in isolation.” LePage’s, 324 F.3d at 162. “The relevant

  inquiry is the anticompetitive effect of [Defendants’] exclusionary practices



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  considered together.” Id. In this case, the Court should therefore consider the

  combined effects of UTC’s



        “The test is not total foreclosure, but whether the challenged practices bar a

  substantial number of rivals or severely restrict the market’s ambit.” Dentsply, 399

  F.3d at 191. Foreclosure of “40% or 50% share [is] usually required in order to

  establish a § 1 violation,” but courts have held that exclusive dealing arrangements

  by a monopolist can violate Section 2 even if a smaller share of the market is

  impacted. LePage’s, 324 F.3d at 159; see also United States v. Microsoft Corp., 253

  F.3d 34, 70 (D.C. Cir. 2001); McWane, Inc. v. F.T.C., 783 F.3d 814, 838 (11th Cir.

  2015). These standards are easily satisfied here.

        The Restraints foreclose 100% of the market for subcutaneously-administered

  treprostinil. UTC holds a 100% share of that market because Remodulin is the only

  choice. The Restraints prevent patients from obtaining cartridges, and without

  cartridges, patients cannot receive subcutaneous infusions of generic treprostinil.

  That amounts to complete foreclosure.

        The Restraints also substantially foreclose the market for all injected

  prostacyclins.

                                     . Around 55% of patients on Remodulin receive

  subcutaneous treatments, and the Restraints prevent Plaintiffs from competing for



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  those patients. Rao Report at Tab 10.




                                As the predicate for his analysis, he relied on a report

  that was published by the DOJ’s Antitrust Division in 2008. That report, however,

  is “no longer . . . Department of Justice policy.” Ex. 911. The DOJ formally

  withdrew the report in 2009 and announced: “Consumers, businesses, courts and

  antitrust practitioners should not rely on it as Department of Justice antitrust

  enforcement policy.” Id. (emphasis added).



                                                               Gaier 367:19-368:3.

                                                             Id. at 383:5-387:15. Dr.

  Gaier ultimately conceded that outside of what is described in the 2008 report, he

  had                                                                             Id. at

  391:17-392:13. His opinions therefore lack rigor and may be ignored.

        B.    Defendants’ Justifications for the Restraints Are Pretextual and
              Ignore Less Restrictive Alternatives
        Defendants have previously argued cartridges would not exist today without

  UTC’s investment in CADD-MS 3 pumps, which it was only willing to make with

  the Restraints in place. See ECF 53-1 at 2. Dr. Gaier also has suggested the

  Restraints were necessary to obtain UTC’s commitment to purchase pumps and


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  cartridges and therefore they are pro-competitive because they expanded output for

  pumps and cartridges. These after-the-fact rationalizations are meritless.

        There is no evidence that the Restraints were needed to expand the supply of

  pumps. The truth is the opposite:




        The same thing can be said for cartridges. There is no evidence that the

  Restraints were necessary to expand Smiths’ capacity to manufacture cartridges or

  that UTC would not have committed to buy cartridges without the Restraints.

  Cartridges are manufactured from a resin

  Walker 46:9-47:11; Moomaw 244:5-17.




             , Gencheff 123:14-21; Ex. 74 at 844-45; Ex. 75 at 390. In December

  2016, however, Smiths found

                                                          Walker 46:14-17; Gencheff



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  148:24-149:6.                                                          Ex. 79 at 532;

  Gencheff 154:16-155:13, 158:2-18.



            Ex. 76 at 549-50; Ex. 205 at 328; Walker 125:1-9, 145:2-18.




        Any claim that the Restraints were necessary to protect UTC’s “investment”

  from “freeriding” also fails.




                                        Moreover, a freeriding argument could never

  justify the Restraints. Federal antitrust laws are primarily concerned with protecting

  “interbrand” competition (i.e., among different brands of the same type of

  product). Leegin Creative Leather Prods. v. PSKS, Inc., 551 U.S. 877, 890-91

  (2007). Although courts have recognized limits on “intrabrand” competition (i.e.,

  among distributors of the same brand of a product) may enhance interbrand

  competition between sellers of different competing products, e.g., Cont’l T.V. Inc. v.

  GTE Sylvania Inc., 433 U.S. 36, 51-52, 54 (1977), the Restraints have the opposite

  intent and effect. Rather than giving UTC an advantage over other suppliers of the



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  same brand of product, the Restraints eliminate UTC’s competition altogether.5

           There also is no evidence the Restraints are necessary to preserve access to

  cartridges for patients on Remodulin.




                                           Benkowitz 119:8-120:7.



                                                      (especially not now, in 2019).

           Finally, even if Defendants’ purported justification for the Restraints was

  valid, there are less restrictive options that Defendants should have adopted to ensure

  cartridges were available to patients on Remodulin.




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      Dr. Gaier’s freeriding opinions also are unreliable.




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  II.   Plaintiffs Are Suffering Irreparable Harm
        Irreparable harm includes “loss of goodwill, damage to reputation, and loss of

  business opportunities.” Celsis In Vitro, Inc. v. CellzDirect, Inc., 664 F.3d 922, 930

  (Fed. Cir. 2012). Absent an injunction, Plaintiffs have and will suffer irreparable

  harm. Plaintiffs are breaking new ground with the first generic alternative to

  Remodulin. Plaintiffs committed to specialty pharmacies and patients that they can

  reliably deliver a therapeutic equivalent to Remodulin, on-time supplies, and the

  same level of support and resources that patients on Remodulin receive. The

  Restraints create the perception that Plaintiffs cannot meet those commitments

  because they cannot supply subcutaneous patients. That perception will inflict

  irrevocable damage to Plaintiffs’ reputation. See, e.g., Byrne v. Calastro, 205 F.

  App’x 10, 16 (3d Cir. 2006); URL Pharma, Inc. v. Reckitt Benckiser Inc., 2016 WL

  1592695, at *8-11 (E.D. Pa. Apr. 20, 2016) (plaintiffs’ loss of the “ability to

  penetrate the over-the-counter market and establish itself as a legitimate generic

  provider of a top-selling drug” constituted irreparable harm).

        The failure of generic Flolan illustrates how damaging the Restraints will be

  to Plaintiffs. In 2008, Teva launched the first generic version of Flolan. Ex. 1016

  at 6. After launch, Teva encountered manufacturing issues, which led to supply

  disruptions for the entire market. Id.

                                                                               12; Jeffs



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  163:6-164:7. Teva never recovered from that reputational hit, and generic Flolan

  never gained traction in the marketplace. It is now considered a

            Ex. 1016 at 6; Ex. 1017 at 12; Jeffs 155:18-21.

         It is no coincidence that

                                                               See, e.g., Ex. 254 at 120.

  UTC implemented the Restraints to create the same sort of uncertainty around the

  supply of generic Remodulin that plagued generic Flolan. As more time passes,

  uncertainty surrounding Plaintiffs’ drug will become permanent. Plaintiffs will not

  recover from that irreparable harm to their reputation, and it will be difficult, if not

  impossible, for them to gain and maintain a toehold in the market. That reputational

  harm cannot be easily quantified or addressed with money damages.

  III.   The Injunction Will Not Harm Defendants
         Defendants will not be unfairly prejudiced by the issuance of an injunction.

  The injunction would not stop Defendants from selling cartridges or Remodulin.




  IV.    The Public Interest Weighs Heavily in Favor of an Injunction
         “[T]he public interest would be particularly disadvantaged by permitting

  [UTC] to extend its market exclusivity” through unlawful restrictions that frustrate




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  one of the principal goals of the Hatch-Waxman Act, which is to

  “encourage generic drug entry into the marketplace.” In re Lipitor Antitrust Litig.,

  868 F.3d 231, 240 (3d Cir. 2017). Eliminating the Restraints would promote

  competition, and benefit patients, healthcare providers, and payors, by driving down

  the cost of treatment. Thus, the public interest weighs in favor of an injunction.

  V.    Defendants’ Other Anticipated Arguments Are Meritless
        To obtain an expedited hearing, Plaintiffs waived their right to a reply.

  Plaintiffs therefore address other anticipated arguments from Defendants below.

        First, Defendants may argue other pumps are viable alternatives to the

  CADD-MS 3 for subcutaneous infusions of treprostinil.




        Second, Defendants may argue Plaintiffs could just design their own pump or

  modify an existing pump to administer subcutaneous infusions of treprostinil. These

  contentions have been refuted by Plaintiffs’ medical device expert, Dr. John Collins.

  Dr. Collins will testify that development of a new, suitable alternative to the CADD-

  MS 3 would require at least              and cost              dollars. Collins Decl.



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  ¶¶ 29-35. That is consistent with Plaintiffs’ understanding. deGoa Aff. ¶ 20.

          Third, Defendants may argue Plaintiffs should have known that they would

  encounter problems related to cartridges and should have accounted for them prior

  to launching generic treprostinil.6 But contrary to what Defendants argued in their

  motion to dismiss, Smiths did not announce in 2015 that it planned to stop

  manufacturing cartridges. See, e.g., ECF 53-1 at 13.



                                                           Walker 84:13-18. In 2015,

  Smiths

  Ex. 69 at 924; Walker 81:2-8, 119:1-120:10. The 2015 notice

                                                    Ex. 69. The same notice

                                                                           Id.




          Moreover, neither Sandoz nor RareGen had actual notice of the Restraints


  6
      Defendants’ purported expert
                                                              Plaintiffs will establish,
  however, that Mr. Talpade is not qualified to offer his opinions.




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  until 2019. A Sandoz employee, Yaping Zhu, had several discussions with Smiths

  in 2016, and Smiths told her the CADD-MS 3 pump had been discontinued. Ex. 12

  at 125. Zhu testified, however, that she never discussed cartridges with Smiths, or

  restrictions on their use. Zhu 263:22-264:6. There is no evidence to the contrary.

  Ex. 82; Gencheff 175:16-24; Walker 130:2-9, 131:2-24. RareGen also did not have

  notice of the Restraints. RareGen is affiliated with two former UTC employees:

  Roger Jeffs and Scott Moomaw. Both of them left UTC in 2016, before the

  Restraints were conceived or imposed. Moomaw 20:12-17; Jeffs 7:11-20. They

  have testified that they had no knowledge of the Restraints before joining RareGen.

  Jeffs 72:7-73:4, 138:11-16, 278:3-5; Moomaw 151:12-17.



        There are additional reasons Plaintiffs would not have anticipated the 2019

  Restraints.




                                                   , in 2017 and 2018, the specialty

  pharmacies assured Plaintiffs that

                                                                . See, e.g., Ex. 906

  (notes from 2017 meeting with Accredo); Ex. 314 (2018 email from Accredo).

        Fourth, Defendants may argue that Plaintiffs should have developed their



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  own cartridges before entering the market. But prior to January 2019, Plaintiffs had

  no reason to believe that generic treprostinil patients would not be able to access

  cartridges.   Nonetheless, upon learning of the Restraints, RareGen dedicated

  substantial resources to




                             Defendants no doubt would have preferred for Plaintiffs to

  stay on the sidelines and defer the launch of generic treprostinil until each of those

  questions is definitively answered. That delay, however, would have exacerbated

  the harm to patients, and Plaintiffs, caused by the Restraints.

        Fifth, Defendants may argue Plaintiffs’ consideration of exclusivity

  arrangements for the RareGen cartridge confirms Defendants’ conduct is lawful.

  But Plaintiffs have not adopted any restrictions on cartridge use. deGoa Aff. ¶ 25.

  And even if they had, Plaintiffs lack market power. Thus, exclusive contracts for

  RareGen’s own, internally-developed cartridges would not impede competition.

                                     CONCLUSION
        For all the reasons stated herein, Plaintiffs respectfully ask the Court to issue

  a preliminary injunction that prohibits Defendants from enforcing the Restraints.




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